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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                        Chapter 11

PINNACLE AIRLINES CORP., et al.,                        Case No. 12-11343(REG)

                                                        (Jointly Administered)
Debtors.


    DECLARATION OF JOHN SPANJERS IN SUPPORT OF DEBTORS’ MOTION
     TO REJECT COLLECTIVE BARGAINING AGREEMENTS WITH THE AIR
    LINE PILOTS ASSOCIATION, INTERNATIONAL AND THE ASSOCIATION
         OF FLIGHT ATTENDANTS-CWA PURSUANT TO 11 U.S.C. § 1113

         John Spanjers declares and says:

         1.     I am the President and Chief Executive Officer of Pinnacle Airlines Corp.

(“Pinnacle” or “the Company”). I am also a member of the board of directors of the Company. I

joined Pinnacle in July 2010, when it acquired Mesaba Aviation, Inc., where I was President and

Chief Operating Officer. I became Pinnacle’s Chief Operating Officer in October 2011, and in

June 2012, I became the Company’s Chief Executive Officer. I am familiar with the day-to-day

operations, business, and financial affairs of the Debtors.

         2.     I offer this declaration in support of Debtors’ motion pursuant to 11 U.S.C.

§ 1113(c) for an Order (1) authorizing it to reject its collective bargaining agreements with (a)

the Air Line Pilots Association, International (“ALPA”) and the Association of Flight

Attendants-CWA (“AFA”); and (2) implementing the terms of Pinnacle’s Section 1113

proposals.

         3.     I previously submitted a declaration in this case as part of the Debtors’ “First-Day

Filings,” in which I described Pinnacle’s business, explained the circumstances giving rise to
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Pinnacle’s Chapter 11 filing, and provided an overview of Pinnacle’s plan to restore profitability.

(Declaration of John Spanjers Pursuant to Local Bankruptcy Rule 1007-2 dated Apr. 1, 2012,

Dkt. No. 3 (“First-Day Declaration”).) This current declaration updates and supplements my

First-Day Declaration with additional facts relevant to the Debtors’ Section 1113 motion.

       4.      Except as otherwise indicated, all facts set forth in this declaration are based upon

my personal knowledge, my review of relevant documents, information provided to me by

employees working under my supervision, or my opinion based upon experience, knowledge,

and information concerning the operations of the Debtors and the airline industry as a whole. If

called upon to testify, I would testify competently to the facts set forth in this declaration.

Unless otherwise indicated, the financial information contained herein is unaudited and provided

on a consolidated basis.

I.     Industry Background

       5.      In my First-Day Declaration, I described the relentless cost pressure faced by

regional airlines and the commoditization of the industry, as mainline carriers demand

increasingly lower rates from their regional partners. (First-Day Decl. ¶¶ 11-13.) This trend has

only continued to intensify since the Debtors’ Chapter 11 filing on April 1.

       6.      Several recent developments in particular are of critical relevance to Pinnacle.

First, it has become increasingly clear that any future growth in regional flying will be

concentrated in larger, more cost-efficient 70- and 76-seat “dual class” aircraft (with advantages

such as lower operating costs per seat and more efficient fuel burn), as opposed to smaller

“single class” 50-seat aircraft of the type predominantly flown by Pinnacle. In May, Pinnacle’s

only customer and DIP lender, Delta Air Lines (“Delta”), announced that it had reached an

agreement with its pilot union permitting it to add 70 dual class regional aircraft, on the

condition that Delta substantially decrease the number of 50-seat aircraft flown by its regional


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partners, resulting in a net decrease in Delta’s regional flying capacity. Based on the new

agreement, Delta has announced that it plans to remove at least 200 50-seat aircraft from its fleet

over the next two to three years, reducing its total number of 50-seat aircraft to 125 or fewer.

Based on the numbers of 50-seat aircraft flown by Delta’s other regional airline partners (known

as “Delta Connection” carriers), it is clear that at least some – and likely a substantial portion –

of the reduction must come from Pinnacle’s fleet of 140 50-seat aircraft. (Hughes Decl. ¶ 32-36

& Ex. 12, Delta Connection Regional Jet Fleet and Future Delta Connection Regional Fleet.)

       7.      Second, in the wake of its announcement, Delta informed Pinnacle that its rates

for 76-seat flying are substantially above the average rates charged by other Delta Connection

carriers. As discussed below, this information fundamentally changed Pinnacle’s assessment of

its financial viability, requiring it to temporarily suspend its negotiations with its unions and

ultimately deliver a revised Section 1113 proposal on August 16, 2012.

       8.      Third, Delta announced in July that it is shutting down its 35-year-old regional

airline subsidiary Comair, because its costs are no longer competitive. Pinnacle currently shares

many of the same cost and fleet disadvantages faced by Comair, including high relative seniority

of its pilots and an above-market collective bargaining agreement, contributing to substantially

uncompetitive costs.

II.    Updated Pinnacle Overview

       9.      Since filing for Chapter 11, Pinnacle has nearly completed the various wind-down

initiatives discussed in my First-Day Declaration, including terminating turboprop flying for

United Airlines, all “essential air service” flying, and shuttering its ground operations division.

(First-Day Decl. ¶ 8.) Pinnacle’s only remaining flying – and sole source of revenue – is 50-seat

CRJ-200 and 76-seat CRJ-900 flying for Delta. Specifically, Pinnacle is flying 140 CRJ-200s

and 41 CRJ-900s for Delta, pursuant to two separate capacity purchase agreements assumed with


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court approval in connection with the Delta DIP facility, plus 16 additional CRJ-900s pursuant to

a separate agreement scheduled to be wound-down in the first half of 2013. The continuing

agreements extend through 2022, with termination of 78 of the CRJ-200s scheduled to begin in

2019, but are subject to “rate resets” in 2018,

                                                                                   . As discussed

below, Pinnacle’s current rates are significantly higher than the average rates charged by Delta

Connection carriers, including             higher per 76-seat aircraft.

       10.     Despite the extensive cost-savings and profit-increasing initiatives undertaken (as

described in my First-Day Declaration and summarized below), Pinnacle’s continuing contracts

are substantially unprofitable. Pinnacle is projecting a net loss of approximately $44 million for

the second half of 2012 and is approaching unsustainably low cash levels.

       11.     As of August 2012, Pinnacle had approximately 5,800 active employees,

including pilots, flight attendants, flight dispatchers, mechanics, aviation maintenance support

personnel, crew resource personnel, managers, and administrative support staff. More than 75%

of Pinnacle’s workforce is unionized, consisting as of August 2012 of approximately 2,400 pilots

represented by the Air Line Pilots Association (“ALPA”); nearly 1,500 flight attendants

represented by the Association of Flight Attendants (“AFA”); and approximately 80 flight

dispatchers represented by the Transport Workers Union, International (“TWU”). Pinnacle’s

labor costs are by far its single largest “controllable” (i.e., non-reimbursable) cost item

representing more than 70% of its total controllable costs. Pinnacle faces certain liquidation

absent substantial reduction of these costs.

III.   Cost Savings and Initial Section 1113 Proposal

       12.     Over the past many months, Pinnacle and its advisers have sought to cut costs and

seek a path toward long-term financial viability. As discussed in my First-Day Declaration,


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Pinnacle undertook numerous cost-cutting initiatives beginning in the fall of 2011, including

significant down-sizing of its management team, elimination of 2012 merit increases and

discretionary bonuses, consolidation of operations, seeking of lender and other creditor

concessions, and unwinding of unprofitable contracts. (First-Day Decl. ¶¶ 29-37.) As noted

above, the Company’s wind-down initiatives are substantially completed.

       13.     Pinnacle also has worked with its financial advisor Seabury to consider every cost

item in its business plan and to identify any additional potential savings beyond those already

realized. To date, Pinnacle has identified approximately $25.7 million worth of potential savings

associated with its material costs, headquarters, non-union wages and headcount, and other

items, and has factored these into its business plan. (Hughes Decl. ¶ 20.)

       14.     Pinnacle initially attempted to obtain labor cost savings before its Chapter 11

filing. In the fall of 2011, Pinnacle approached its unions to seek a 5% wage cut, as well as relief

from various pilot work rules that were imposing crippling training costs and loss of productivity

in connection with the integration of Pinnacle’s Mesaba and Colgan subsidiaries. (First-Day

Decl. ¶¶ 17-25, 28.) Pinnacle explained to its unions that these concessions might allow the

Company to retain its flying for United and help the Company avoid a Chapter 11 filing.

Pinnacle also explained that without the requested concessions, and under a Chapter 11

restructuring scenario, the amount of labor savings ultimately needed could be substantially

higher. The Company was unable to reach any labor deal pre-filing and was not able to retain its

flying for United.

       15.     Pinnacle made its initial Section 1113 proposal to its unions on May 8, 2012. In

computing its initial ask, the Company had three primary goals: (1) attaining a cost structure that

would avoid losing money on its only existing contracts; (2) achieving a sufficient profit margin




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to attract an investor to allow Pinnacle to emerge from bankruptcy and to generate excess cash

for future growth and protection against unforeseen fluctuations; and (3) achieving an overall

competitive cost structure allowing the company to win future new business. Based on these

considerations, Pinnacle proposed a package of wage, benefit, and work rule concessions

achieving a combined average annual savings of approximately $43 million.

       16.     In formulating the initial $43 million ask, Pinnacle used its recently agreed upon

contracts with Delta as the key benchmark of future competitiveness, calibrating the ask so that

its labor cost reductions would permit it to bid for additional business offered at similar rates to

those provided by the Delta contracts. Because the business terms of regional airline contracts –

including pricing terms in particular – are highly-guarded, commercially sensitive information,

Pinnacle was not able to benchmark its rates against the rates charged by Pinnacle’s competitors

in developing its Section 1113 proposal.

       17.     On May 8, 2012, members of Pinnacle’s senior management team and its advisers

presented the unions with Pinnacle’s initial proposal, starting with an overview to all unions,

followed by more detailed sessions with each union individually. Starting on that day and

continuing thereafter, Pinnacle engaged in extensive, good faith negotiations with its unions and

supplied all relevant information necessary to evaluate the initial proposal. The Pinnacle team

made itself available on virtually a 24/7 basis to meet, answer questions, and otherwise do

everything within its power to seek a consensual agreement. The Company’s efforts included

the launch and continual updating of an electronic “Data Room,” which provided the unions with

continual access to relevant information, as well as arrangements for the unions to access and

manipulate a “live” version of the model underlying Pinnacle’s business plan.




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       18.     Despite these and other efforts, the parties made little progress with respect to the

initial May 8 ask. Pinnacle ultimately suspended negotiations regarding its initial ask based on

the developments discussed below.

IV.    Revised August 16, 2012 Proposal

       19.     On June 15, Virginia Hughes of Seabury, Steven Rossum (Pinnacle’s

restructuring officer), and I participated in a meeting with Delta Connection representatives in

Minneapolis. At that meeting, Delta informed the Pinnacle team that Delta had analyzed the

rates it pays regional partners for 70- and 76-seat regional flying and had determined that

Pinnacle’s rates under its existing CRJ-900 contract – which is currently significantly money-

losing for Pinnacle – are            per aircraft higher than the average rate Delta pays Pinnacle’s

competitors for similar-gauge aircraft. Based on this cost discrepancy, Pinnacle management

understood that it would not be able to win new flying from Delta or any other major carrier

unless it could achieve cost savings sufficient for it to reduce its rates for 76-seat flying by

          per aircraft.

       20.     Based on confidentiality obligations to its other regional partners, Delta was not

able to turn over the details of its analysis, although it agreed to memorialize its conclusion and

the methodology it employed in a letter dated August 1, 2012. This letter has been shared with

the unions and the UCC and is attached to the accompanying declaration of Mr. Cude. (Cude

Decl., Ex. A). As explained in the letter, Delta adjusted for different types of “pass-through”

costs under its various agreements so as to ensure an “apples-to-apples” comparison, and

calculated an effective cost difference of approximately              per aircraft between Pinnacle

and other flyers of larger, two-class regional jets. The letter also reported a cost disadvantage

associated with Pinnacle’s smaller 50-seat regional jets of approximately               per aircraft.

Given that Delta is replacing 50-seat flying with 70- and 76-seat flying, consistent with an


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overall industry shift toward dual-class regional aircraft, Pinnacle must achieve competitive rates

for the larger regional aircraft, and has accordingly focused its analysis on the           cost

differential.

        21.     In addition to interfacing with Delta and its representatives and obtaining the

August 1 letter, Pinnacle undertook to corroborate the             calculation through its own

independent analysis. Because there is virtually no publicly available information about the rates

that other regional carriers charge their mainline partners, the Company instead sought to

validate the           cost gap through a comparison of Pinnacle’s costs to those of its

competitors.

        22.     Pinnacle and its advisors believed that the most relevant comparison for ensuring

cost competitiveness was to newer, low-cost regional carriers (e.g., Compass Airlines and GoJet

Airlines) that have been the recent winners of new regional business, rather than older airlines

with higher cost structures that have either proven untenable (e.g., Comair) or are based on

business platforms fundamentally distinguishable from Pinnacle’s (e.g., SkyWest) because of

more favorable economies of scale, cash position, aircraft ownership (justifying higher margin

payments from mainline carriers), or other advantages or characteristics inapplicable to Pinnacle.

        23.     In examining the            cost gap identified by Delta, we asked Seabury to

focus in particular on Compass Airlines and GoJet Airlines, low-cost Delta Connection carriers

that compete with Pinnacle. In addition to lower pilot wages, Compass and GoJet have

substantially lower overall employee seniority compared to Pinnacle, given that they have only

been in operation over the last five to seven years, leading to significantly lower pilot-related

costs. Based on reasonable assumptions regarding the seniority distribution of Compass and

GoJet, and confining its analysis to certain wage, work rule, and 401(k) costs, Seabury estimated




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a Pinnacle cost disadvantage per 76-seat aircraft of approximately $263,000 compared to

Compass 76-seat aircraft, and $332,000 compared to GoJet 70-seat aircraft.1 (Hughes Decl. ¶¶

26-28.)

          24.        Pinnacle also asked Daniel Kasper, a noted airline industry expert of the

consulting group Compass Lexecon, to analyze Pinnacle’s cost disadvantage. Based on publicly

available “Form 41” cost data reported by airlines for 2011, Mr. Kasper estimated a cost

differential between Pinnacle and Compass Airlines of over $300,000 per 76-seat aircraft based

on pilot costs alone. (Kasper Decl. ¶ 82.)

          25.        These analyses corroborated Delta’s calculation showing that Pinnacle would be

priced out of the market if it could not eliminate the identified                 cost differential.

Pinnacle and its advisors calculated that eliminating this differential would require obtaining

approximately $76.5 million in aggregate labor savings per year, and that its Section 1113

proposal would have to be revised accordingly.

          26.        In formulating its revised Section 1113 proposal, Pinnacle carefully considered

whether it could successfully complete its Chapter 11 reorganization based on in its initial May

8, 2012 ask, which would have accomplished minimal profitability on its existing contracts with

Delta, while leaving the                     cost gap unaddressed. Pinnacle and its advisers concluded

that this was not a feasible route for the Company for various reasons.

          27.        First, Pinnacle has no realistic chance of long-term survival with significantly

uncompetitive rates for 76-seat flying. Given the industry shift away from 50-seat aircraft, an

inability to compete for new 76-seat flying is a death sentence for Pinnacle, or at a minimum, a

guarantee that Pinnacle will soon find itself again in Chapter 11.


          1
              GoJet does not currently fly any 76-seat aircraft.



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Over the course of several weeks in July and August, Pinnacle was able to renegotiate the MFN

provisions with Delta to substantially lessen their dilutive impact on Pinnacle’s revenue and

permit Pinnacle to seek future growth opportunities. As amended, Pinnacle is able to fly

aircraft per non-Delta customer at lower rates than those charged to Delta without any offsetting

rate reduction obligation, and then incurs only partial rate reduction obligations to Delta for

additional aircraft beyond the first   per non-Delta customer.

       31.     On August 16, 2012, the Company presented a revised labor ask to its unions,

consisting of various wage, benefit, and work rule modifications totaling the $76.5 million

needed to close the            cost gap. Pinnacle’s pilots would contribute the most to the overall

required savings, based on the fact that pilot costs constitute the largest component of Pinnacle’s

labor costs, and based on the substantial market disparity between Pinnacle’s pilot costs and

those of the industry – particularly when factoring in Pinnacle’s significant seniority

disadvantage. To help address this disadvantage, Pinnacle’s proposal contains certain structural

modifications to the seniority accrual of its pilots. Specifically, Pinnacle has sought to impose a

seniority cap of 12 years for Captains, a cap of 4 years for First Officers, and a rule that would

place newly promoted First Officers at the first Captain seniority step, rather than crediting

newly promoted First Officers with Captain longevity equivalent to the years previously spent as

a First Officer. Pinnacle has also identified numerous pilot work rules that are significantly more

onerous to the Company than those of its competitors and has proposed changes to better align

them with the industry.

V.     Labor Union Negotiations

       32.     Since resuming labor negotiations on August 16, Pinnacle has once again made

itself available on virtually a 24/7 basis to meet, answer questions, supply information, and

explore any opportunities for a consensual resolution.


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       33.     On August 30, 2012, Pinnacle reached a tentative agreement with TWU on behalf

of the Company’s flight dispatchers, which was ratified on September 11, 2012.

       34.     Pinnacle continues to negotiate in good faith with ALPA and AFA. I have

instructed our labor negotiations team to make themselves continually available to meet with

ALPA and AFA, and to make every possible effort to reach consensual deals.




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